USDC IN/ND case 1:25-cv-00239-HAB-SLC       document 8-2    filed 05/21/25   page 1 of 4


                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           FORT WAYNE DIVISION
 JOSEPH MALDONADO,

               Plaintiff,


 v.                                                 CAUSE NO.: 1:25-cv-239-HAB
 PROFESSIONAL ANIMAL
 RETIREMENT CENTER (PARC)
 DBA
 BLACK PINE ANIMAL SANCTUARY

                    Defendant


                   DECLARATION OF ROGER I. ROOTS, ESQ.
    1. My name is Roger I. Roots and I declare and attest, under my oath and under
       penalties of perjury, that the following facts are true and within my personal
       knowledge.
    2. I am the attorney of record for Joseph Maldonado (“Maldonado”) in this
       matter, admitted pro hac vice.
    3. I submit this declaration in support of Maldonado’s Emergency Petition for
       Injunctive Relief and Maldonado’s emergency motion for an interim
       preservation order and shorten notice on verified petition pursuant to Fed. R.
       Civ. P. 27(A) and Local Rule 65-1 of the Northern District of Indiana.
    4. I hereby certify, swear, and attest that the facts described in Maldonado’s
       complaint petition (doc. #2) are true and correct; to wit, Black Pine Wildlife
       Sanctuary has publicly announced it’s intention to neuter (castrate) “Elvis,”
       a white Bengal tiger formerly possessed by Maldonado’s former zoo.
    5. Identified in this declaration are various documents and other evidence
       referred to in the Petition. The facts set forth below are within my personal
       knowledge or have been obtained from public sources identified below.
    6. On May 13, 2025, I sent to Professional Animal Retirement Center (PARC)
       (a.k.a. Black Pine Animal Sanctuary), and it’s board of directors (the
       “Respondents”), the prospective defendants in the contemplated ESA action,
       Maldonado’s Notice of Intent to Sue (the “Notice”). A true and correct copy
       of the Notice is attached hereto as Exhibit 1.
    7. In the Notice, on behalf of Maldonado, I requested the Respondents to agree
       in writing by May 19th 2025, to voluntarily preserve any and all animals,
       documents, tangible items and electronic data that are the subject of or
USDC IN/ND case 1:25-cv-00239-HAB-SLC        document 8-2     filed 05/21/25   page 2 of 4


        relevant to the violations addressed in the Notice. Respondents have not
        complied with this request but have otherwise acknowledged the Notice.
    8. A true and correct copy of the PARC’s public response to Maldonado’s
        Notice attached hereto as Exhibit 2.
    9. A true and correct copy of the Fish and Wildlife Service Endangered and
        Threatened Wildlife and Plants; U.S. Captive-Bred Intersubspecific Crossed
        or Generic Tigers Final Rule attached hereto as Exhibit 3.
    10. Attached hereto as Exhibit 4 is a true and correct copy of a news article:,
        https://www.21alivenews.com/2025/05/16/joe-exotic-intends-sue-black-
        pine-animal-sanctuary-over-endangered-species-neutering/ indicating that
        Respondents acknowledge the notice.
    11. Attached hereto as Exhibit 5 is a true and correct copy of the Endangered
        Species Act of 1973.
    12. Attached hereto as Exhibit 6 is a copy of Patronus’s page on PARC website
        on or before May 13, 2025.
    13. Attached hereto as Exhibit 7 is a copy of Patronus’s page on PARC website
        on May 20, 2025.
    14. Additionally, and shockingly, Black Pine and its officers and staff have
        publicly stated that Elvis the white Bengal tiger is an inbred, cross-eyed
        mutant of no value or protection under the ESA, despite Elvis being seized
        through the enforcement of an ESA action. Attached hereto as Exhibit 8 is a
        copy of the Department of Justice Press Release “U.S. Government Seizes 68
        Protected Big Cats and a Jaguar from Jeffrey and Lauren Lowe” dated
        Thursday, May 20, 2021.
    15. Since the filing of Maldonado’s petition/complaint (doc. #2), Maldonado has
        learned that Black Pine also possesses three more tigers which were formally
        under Maldonado’s care and possession (Ima, Prince, and Petronus) and
        another tiger, “Top Cat”) which was apparently never in Maldonado’s care.
    16. Additionally, Black Pine’s staff has been altering the Sanctuary’s website to
        remove evidence that Maldonado’s former tiger Petronus may have been
        unlawfully castrated.
    17. Specifically, last week, Black Pine’s website featured an image of Petronus
        reclining with his male anatomy still intact; while this week, after Black Pine
        had notice of Maldonado’s suit, the website has been altered to show merely
        Petronus’ head.
USDC IN/ND case 1:25-cv-00239-HAB-SLC          document 8-2   filed 05/21/25   page 3 of 4


    18. To sum up: on behalf of Maldonado, (1) on May 13, I mailed (and emailed)
        certified copies of Maldonado’s Notice of Intent to Sue to all known members
        of the Black Pine Board of Directors, (2) the notice requested that Black Pine
        contact me by May 19, and voluntarily enter into a preservation order. (3)
        while no one on behalf of Black Pine has contacted me, Black Pine has
        published statements that Elvis the tiger is not protected under the ESA, and
        (4) Black Pine has quietly altered its website to perhaps hide the fact that
        Black Pine may have already unlawfully castrated an endangered tiger,
        “Petronus.”




       I declare under penalty of perjury that the foregoing is true and correct.



                                                /s/ Roger I. Roots
 May 20th 2025                                  Roger I. Roots esq.
                                                10 Dorrance Street
                                                Suite 700
                                                Providence, Rhode Island 02903
                                                Telephone: 775-764-9347




                                           2
USDC IN/ND case 1:25-cv-00239-HAB-SLC   document 8-2   filed 05/21/25   page 4 of 4
